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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       :      Chapter 11
                                                             :
WMC MORTGAGE, LLC,                                           :      Case No. 19–________ (             )
                                                             :
                                                             :
                            1
                  Debtor.                                    :
------------------------------------------------------------ x

               DECLARATION OF MARK V. ASDOURIAN IN SUPPORT OF
               DEBTOR’S CHAPTER 11 PETITION AND FIRST-DAY RELIEF

        I, Mark V. Asdourian, pursuant to section 1746 of title 28 of the United States Code,

hereby declare that the following is true and correct to the best of my knowledge, information,

and belief:

                   1.     I am the Chief Executive Officer, President, General Counsel, and

Chairman of the Board of Directors of WMC Mortgage, LLC (the “Debtor” or “WMC”), and

have served in each of these capacities since June 6, 2016. I was hired by GE Capital US

Holdings, Inc. (“GECUSH”), WMC’s sole member, and seconded to WMC on June 6, 2016.

From February 1, 2013 through June 6, 2016, I was retained directly by the Debtor on a monthly

basis to act as the Debtor’s General Counsel. Prior to my retention as the Debtor’s General

Counsel in February 2013, I was an attorney in private practice and represented the Debtor in

various litigation as well as business and finance related matters for over fifteen years.

                   2.     I am authorized to submit this declaration (this “Declaration”) in support

of the Debtor’s voluntary petition for relief under chapter 11 of title 11 of the United States Code

(the “Bankruptcy Code”). To minimize the potentially adverse effects that the commencement



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  The last four digits of the Debtor’s federal tax identification number are 2008. The Debtor’s principal office is
located at 6320 Canoga Avenue, Suite 1420, Woodland Hills, California 91367.



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of this chapter 11 case may have on the Debtor and to facilitate an orderly transition into chapter

11, the Debtor has filed certain motions and applications on the date hereof (the

“Commencement Date”) seeking “first day” relief (collectively, the “First Day Pleadings”).

                   3.   I am generally familiar with the Debtor’s day-to-day operations, books

and records, and business and financial affairs. Except as otherwise indicated, the facts set forth

in this Declaration are based upon my personal knowledge, my review of relevant documents,

my review of information contained in various databases maintained by the Debtor, my

discussions with members of the Debtor’s senior management and professionals reporting to me,

information provided to me by employees working under my supervision, information provided

to me by professionals retained by the Debtor, or my opinion based upon my experience,

knowledge, and information concerning the Debtor’s operations. If called upon to do so, I can

testify competently to the facts set forth in this Declaration.

                   4.   This Declaration is divided into four parts. Sections I and II provide an

overview of the Debtor’s history, business, and prepetition organizational and debt structure.

Section III describes the events and circumstances leading to the commencement of this chapter

11 case, and Section IV summarizes the relief requested in each of the First Day Pleadings.

I.      Preliminary Statement

                   5.   WMC, directly and through various predecessors, was in the business of

originating residential mortgage loans for more than sixty years. The collapse of the housing and

financial markets presaging the Great Recession decimated WMC’s loan origination business.

By the second quarter of 2007, WMC had essentially stopped originating new loans and focused

on winding down its operations and resolving substantial liabilities associated with its mortgage

business. Over the past decade, WMC has been able to settle the gravamen of the litigation

commenced against it, which primarily consisted of contract actions for breaches of

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representations and warranties WMC made in mortgage loan sale agreements relative to the

attributes of the loans sold. These claims were asserted either by trustees of trusts that issued

residential mortgage backed securities or by counterparties who otherwise purchased mortgage

loans originated or acquired by WMC. Over this period, and as a result of arm’s-length, good

faith bargaining, WMC paid over $1.5 billion in settlements of numerous third party claims.

Approximately eighty-five percent (85%) of these settlements and other related costs, including

substantial legal fees and operating expenses, have been funded through capital contributions

made by GECUSH and, prior to December 2015, its predecessor, General Electric Capital

Corporation (“GECC” and together with GECUSH, “GE Capital”).

                   6.   In addition to these contract actions, over the last few years, WMC and

GECC have been the subject of an investigation by the Civil Division of the United States

Department of Justice (the “DOJ”) in connection with potential violations of the Financial

Institutions Reform, Recovery, and Enforcement Act of 1989 arising out of WMC’s origination,

purchase, or sale of residential mortgage loans (“FIRREA Claims”). On April 11, 2019, WMC,

the United States of America (acting through the DOJ), and General Electric Company executed

a settlement agreement (the “FIRREA Settlement”), which provides for General Electric

Company’s payment of $1.5 billion (the “DOJ Payment”) in full and final satisfaction of all

FIRREA Claims that may be asserted by the United States against WMC, General Electric

Company, and their affiliates.     The DOJ Payment was paid entirely by General Electric

Company on April 18, 2019.

                   7.   Having concluded the FIRREA Settlement as well as the numerous RMBS

related settlements, the remaining claims against WMC primarily consist of (a) one pending

contract action for alleged breaches of representations and warranties relating to the Securitized



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Asset Backed Receivables LLC Trust 2006-WM2 (the “SABR-WM2 Trust”), which, as is

discussed in greater detail below, is stayed and subject to a proposed settlement, and (b) the

potential for contingent, disputed and unliquidated unsecured claims, which generally are

described in Section III below. WMC has de minimis unsecured trade debt.

                   8.    As a result of the discontinuation of its mortgage origination business in

2007 and with the resolution of claims and causes of action asserted against it over the past

decade, WMC has limited remaining assets. These assets include potential claims and causes of

action against WMC’s affiliates, including General Electric Company and its affiliates

(collectively, “GE”) (the “Potential Claims”), limited cash on hand and certain other contingent

claims, including, among other things, WMC’s right to certain recoveries available under certain

settlement agreements with certain counterparties.

                   9.    In accordance with WMC’s duty to maximize the value of its remaining

assets, including the Potential Claims, in July 2018, two independent directors (the

“Independent Directors”) were appointed to WMC’s board (the “Board”). The Independent

Directors are John S. Dubel of Dubel & Associates, LLC, and Michael E. Jacoby of Phoenix

Management Services, LLC. Neither Independent Director has served as a director of the

Debtor, nor has been engaged by the Debtor, or its predecessor entities, or GE. Accordingly, the

Board now has three members consisting of myself and the Independent Directors.

                   10.   In July 2018, WMC also formed a special committee of the Board

consisting of the Independent Directors (the “Special Committee”).            As set forth in the

Amended and Restated Limited Liability Company Agreement of WMC, dated July 13, 2018,

the Special Committee’s charter is to, among other things, investigate the Potential Claims and,

as appropriate, prosecute and/or settle such claims. WMC’s legal counsel, Richards, Layton &



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Finger (“RLF”), and financial advisor, Alvarez & Marsal Disputes and Investigations, LLC

(“A&M”), assisted the Special Committee in the performance of its investigative

responsibilities.

                   11.   I understand that, since its formation, the Special Committee engaged in a

thorough investigation of the Potential Claims so that it may be in a proper position to negotiate

a consensual resolution of such claims or, if appropriate, prosecute such claims. As described in

greater detail below, I understand that the Special Committee substantially completed its

investigation in late March 2019, subject principally to the resolution of certain ongoing

discovery matters.       I also understand that, around that time, WMC and GE commenced

settlement negotiations and have reached an agreement in principle to resolve all of the Potential

Claims, subject to definitive documentation (the “Definitive Documentation”) and approval by

this Court, that provides for, among other things, a release of GE in exchange for a cash payment

(the “GE Settlement”).        Once finalized, the Debtor intends to seek approval of the GE

Settlement as part of the chapter 11 plan confirmation process, and, if approved, the proceeds of

such settlement will be used to fund distributions to creditors pursuant to a chapter 11 plan,

consistent with the Definitive Documentation.

                   12.   To fund the projected costs of this chapter 11 case and enable WMC to,

among other things, pay salaries and benefits of its employees, other ordinary course post-

petition obligations, conduct negotiations with key constituents, consummate the GE Settlement

and confirm a chapter 11 plan, GECUSH has committed to provide up to $25 million of debtor-

in-possession financing to WMC (the “DIP Facility”).

                   13.   In view of the foregoing, the Board has determined that the

commencement of this chapter 11 case, financed with advances from GECUSH pursuant to the



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DIP Facility, will enable WMC to maximize the value of its remaining assets, resolve disputed

and unliquidated claims that might be asserted against it, and make a fair and equitable

distribution to its creditors in accordance with the Bankruptcy Code.

II.     The Debtor’s Corporate Structure and Business

        A.         The Debtor’s Organizational Structure

                   14.    As depicted on the organizational chart attached hereto as Exhibit A,

GECUSH is a Delaware corporation and the sole member of the Debtor, which is a Delaware

limited liability company. The Debtor does not have any subsidiaries. GECUSH, in turn, is

wholly-owned by GE Capital Global Holdings, LLC, which is a Delaware limited liability

company. GE Capital Global Holdings, LLC, in turn, is wholly owned by General Electric

Company. WMC is the only debtor in this chapter 11 case.

                   15.    As noted above, pursuant to an amendment to WMC’s organizational

documents in July 2018, WMC formed the Special Committee to investigate the Potential Claims

and take all actions that it deemed appropriate with respect to its investigation and, on behalf of

the Debtor, to prosecute or settle, release, discharge, or enter into any other agreement relating to

the Potential Claims. For approximately eight months, the Special Committee conducted its

investigation of the Potential Claims with the assistance of RLF and A&M. The investigation

focused primarily (but not exclusively) on events that took place between 2004 and 2007 when

WMC was a wholly-owned subsidiary of GE Capital and operating its loan origination business.

                   16.    I understand that the Special Committee, through its advisors, obtained

and reviewed over 1.9 million documents, including records of more than 400 custodians or data

repositories at WMC or GE.          The Special Committee obtained these documents from two

primary sources: WMC and GE, the latter of which received numerous document requests from

the Special Committee. As noted above, the Special Committee has substantially completed its

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investigation, subject principally to the resolution of certain discovery matters, and has reached

an agreement in principle regarding the terms of the GE Settlement, subject to Definitive

Documentation and approval by this Court.

        B.         The Debtor’s History

                   17.    The Debtor’s predecessor was founded in 1955 as Pacific Western

Mortgage Company, later renamed Weyerhaeuser Mortgage Company, a California corporation

(“Weyerhaeuser”). For more than fifty years, Weyerhaeuser was in the business of residential

mortgage lending. Over time, Weyerhaeuser developed national retail and wholesale mortgage

origination operations focused on originating single-family prime mortgage loans. In May 1997,

Weyerhaeuser was sold to WMC Finance Company, a Delaware corporation (“WMC

Finance”), which, as is described in greater detail below, was a predecessor to WMC.

                   18.    From 2000 through the suspension of its mortgage loan origination

operations in 2007, WMC did not maintain a full servicing platform for the residential loans it

made. Rather, WMC retained a third party to service the mortgage loans it originated on an

interim basis until such time as the loans were sold, generally within a short period of time after

origination. Often times, counterparties that purchased mortgage loans from WMC would,

generally through affiliates, deposit the loans into trusts that would hold the loans as collateral

for the issuance of residential mortgage backed securities (“RMBS”) sold to investors.

                   19.    On June 14, 2004, the consumer finance division of GECC acquired

WMC Finance and its subsidiary, WMC Mortgage Corp. (formerly known as Weyerhaeuser),

from affiliates of Apollo Global Management L.P. for aggregate net consideration of $645.3

million. By the date of GECC’s acquisition, WMC Mortgage Corp. had sold its prime mortgage

lending business and was focused on originating subprime loans on a wholesale basis.

Following GECC’s purchase, WMC Mortgage Corp. continued to sell loans shortly after

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origination to purchasers, including financial institutions and investment banks, pursuant to loan

sale agreements under which WMC Mortgage Corp. typically made various representations and

warranties to the purchasers concerning certain attributes of the loans being sold (“R&Ws”) and,

in certain instances, acknowledged that its R&Ws would extend to any successor-in-interest to

the purchaser of its mortgage loans. After WMC Mortgage Corp. sold a loan, the initial loan

purchasers would frequently transfer the loans to affiliated securitization entities who would then

deposit the loans into RMBS trusts and transfer all rights and remedies under the sale agreements

to the trustees, on behalf of the trusts. Over the course of GECC’s ownership, mortgage loans

originated by WMC Mortgage Corp. were deposited into more than 130 different RMBS trusts.

                   20.   In January 2007, WMC Mortgage Corp., GECC, GE Money Bank, FSB

(“GEMB”), and WMC-GEMB Mortgage Corp. entered into a series of agreements that

effectively transferred WMC Mortgage Corp.’s origination business to GEMB. After the

transfer, GEMB would periodically sell the mortgages it originated to WMC Mortgage Corp.,

which would sell them in turn to third parties. By April 2007, WMC Mortgage Corp. and/or

GEMB substantially ceased originating mortgage loans due, primarily, to the collapse of the real

estate market and the onset of the Great Recession. In November 2007, the parties rescinded this

arrangement, and the remaining business operations, assets, and employees were returned to

WMC Mortgage Corp.

                   21.   In December 2007, WMC Mortgage Corp. sold a significant portion of its

material assets, including nearly all of its remaining inventory of loans, real estate owned

properties (REO) and intellectual property, to DLJ Mortgage Capital, Inc. for approximately

$117 million (the “DLJ Sale”). WMC Mortgage Corp. retained all of the proceeds realized from

the DLJ Sale.



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                    22.   On December 28, 2007, after the DLJ Sale had closed, WMC Mortgage

Corp. merged into WMC Finance. Thereafter, on December 31, 2007, the surviving entity was

converted into a Delaware limited liability company and renamed WMC Mortgage, LLC, which

is the Debtor in this chapter 11 case.

                    23.   Finally, in 2015, as a result of an internal reorganization, GECC’s U.S.

operations were largely consolidated under GECUSH, a new Delaware corporation.               This

resulted in GECUSH becoming the sole member of WMC.

        C.          The Debtor’s Post-2007 Operations

                   i.     Liability Management

                    24.   During the course of the Great Recession, many homeowners faced

immediate and ongoing difficulty making their mortgage payments, refinancing their mortgages

or selling their homes to avoid foreclosure.           Consequently, the borrowers of many of the

residential mortgage loans originated in the years prior to the Great Recession defaulted. By

reason of these defaults and continuing deterioration of the entire U.S. housing market, the

collateral (i.e., the mortgage loans) owned by RMBS trusts was substantially devalued.

                    25.   Since 2011, WMC was named as a defendant in fourteen lawsuits filed by

trustees alleging breaches of R&Ws and seeking the repurchase of the allegedly breaching

mortgage loans. Thirteen of those lawsuits have been settled to date for an aggregate amount of

$870 million, which resolved approximately $6.2 billion of asserted liabilities.         The one

remaining lawsuit, which was filed in 2012 and was pursued by a separate trustee on behalf of

the SABR 2006-WM2 Trust, is seeking damages in excess of $980 million. However, as is

discussed in greater detail below, such action has been stayed by agreement of the parties and is

subject to a proposed settlement.



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                    26.   The funding for the $870 million paid to settle the referenced lawsuits was

made through capital contributions to WMC from GE Capital. In addition, WMC has made

other settlement payments to numerous counterparties in the aggregate amount in excess of $630

million. The funding for these other settlement payments and related costs was made through a

combination of (i) the proceeds of the DLJ Sale, (ii) funds borrowed by WMC under various

intercompany financing agreements, and (iii) capital contributions made to WMC from GE

Capital.

               ii.        Employees

                    27.   As of the Commencement Date, WMC employs ten (10) full-time

employees who perform a variety of critical functions and services for the Debtor, including

tasks pertaining to management, operations, human resources, information technology, litigation

management and support, legal, and finance and accounting.             Additionally, pursuant to a

Services Agreement, dated as of December 27, 2007 (the “Services Agreement”), certain of

WMC’s employees render services on behalf of one of WMC’s affiliates, GE Mortgage Holdings

LLC, formerly GE Money Mortgage Holding Company (“GEMH”), related to residential

mortgage loans originated, sold and securitized by GEMH (and its predecessors) well before

GECC’s acquisition of WMC. The Services Agreement provides that GEMH is required to

compensate WMC for services rendered on behalf of GEMH at a rate equal to WMC’s cost plus

five percent (5%) (the “Servicing Fee”). For services performed after the Commencement Date,

GEMH will continue to pay WMC the Servicing Fee in cash, on a monthly basis.

        D.          Financing of WMC

                   i.     Intercompany Agreements

                    28.   Since the acquisition of WMC in 2004, GE Capital (historically provided

funding to WMC’s mortgage loan origination operations through various intercompany financing

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agreements, including term loans, cash management agreements and cash pooling agreements.

This financing and any related repayments have been duly reflected on the books and records of

GE Capital and WMC and have resulted in an outstanding intercompany payable balance

currently owed by WMC to GECUSH and its affiliates in the amount of approximately $93

million.

                   29.   Additionally, on October 10, 2017, WMC entered in a Loan and Security

Agreement with GECUSH, as amended (the “Loan Agreement”), pursuant to which GECUSH

provided WMC with a loan in a principal amount equal to $73,534,867 in exchange for a

security interest in WMC’s right, title, and interest in certain recovery rights incorporated in the

settlement agreements entered into by and between certain counterparties and WMC. The

principal under the Loan Agreement was fully repaid on February 28, 2018 from funds that

constituted GECUSH’s collateral. The full repayment of principal left $435,865.21 in interest

accrued through the date of repayment outstanding. The Debtor has not investigated the validity

and perfection of GECUSH’s secured claim under the Loan Agreement.

               ii.       Capital Contributions

                   30.   After GECC’s acquisition of WMC, GECC contributed over $800 million

to WMC’s mortgage loan origination operations in 2007 to satisfy regulatory capital

requirements. In addition, in 2014, GECC began making substantial capital contributions to

WMC in connection with the settlement of outstanding claims asserted against WMC. Over

time, GECC and GECUSH (after December 2015) have made total capital contributions to

WMC in the amount of approximately $1.3 billion relating to the settlement of these claims. In

September 2015, GECUSH also began to make capital contributions to WMC to be used for

WMC’s on-going operating expenses.               As of the Commencement Date, GECUSH had

contributed a total of approximately $113 million for operating expenses.

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              iii.        Other Intercompany Charges and Expenses

                   31.    WMC currently has several insurance policies, including workers’

compensation and various liability, property, and other insurance programs under a Commercial

General Liability Policy issued by Electric Insurance Company (“EIC”), which is a subsidiary of

GECUSH.        The Commercial General Liability Policy automatically renews every year on

January 1. Given that the insurance policies are managed by EIC, GECUSH receives a corporate

allocation for the costs of insurance, which GECUSH historically charged back to WMC through

intercompany accounts.        GECUSH has not charged back to WMC any insurance-related

expenses since 2017. Accordingly, there are no direct payments made from WMC to EIC

relative to the insurance policies.

                   32.    WMC directly pays for items such as wages, rent (which includes utilities)

for its corporate office in Woodland Hills, California, legal fees, and information service

vendors. There are minimal amounts outstanding as of the Commencement Date on account of

such expenses.

        E.         The Debtor’s Prepetition Indebtedness

                   33.    Other than $435,865.21 in interest owing to GECUSH under the Loan

Agreement, which remains subject to review by the Debtor, the Debtor does not currently have

any secured, bank, or bond debt. With the financial support that GE Capital provided WMC

over the past decade, the Debtor has remained current on payment of all of its operating expenses

such as wages, rent, and professional fees. Accordingly, as of the Commencement Date, the

Debtor’s outstanding payables largely consist of approximately $93 million owed to GECUSH

and its affiliates under various intercompany financing agreements, which includes the

outstanding interest due under the Loan Agreement. WMC has de minimis outstanding ordinary

course payables. In addition to these outstanding payables, parties might assert contingent,

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unresolved liabilities relating to the operation of its mortgage origination business that are

described generally below.

        F.         The Debtor’s Assets

                   34.    As of the Commencement Date, WMC has approximately $175,000 in

cash or cash equivalents, which was funded by GECUSH to WMC pursuant to capital

contributions. The majority of the Debtor’s remaining assets consist primarily of the Potential

Claims as well as WMC’s right to certain recoveries available under certain settlement

agreements entered into by and between WMC and certain counterparties.

III.    Events Leading to the Chapter 11 Case

        A.         Outstanding Claims

                   35.    The possible claims that might be asserted in this case generally fall into

three categories. First, there are claims made by trustees on behalf of RMBS trusts relating to

alleged breaches of R&Ws for mortgage loans sold during the period from 2004 through 2007

(the “RMBS Actions”). As noted above, WMC has worked diligently to settle, and has settled,

thirteen RMBS Actions during the past decade at a cost of approximately $870 million.2 Second,

WMC has received indemnification notices from certain trustees, purchasers, depositors,

underwriters, and sponsors of RMBS (“WMC Counterparties”) who have been sued or who

believe they may be sued for (i) alleged misrepresentations in the securitization offering

documents, (ii) mortgage loan repurchase claims made against RMBS sponsors, (iii) alleged

breaches of contractual and/or statutory fiduciary duties of the RMBS trustees, and (iv) fees and

costs arising from investigations by the DOJ. However, no lawsuit is pending on any such claim.

Third, there are ongoing individual loan-level actions in which borrowers assert various claims

2
  As discussed in greater detail below, there is only one pending RMBS Action remaining against WMC which is
stayed and subject to a proposed settlement.


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against WMC alleging, among other things, that WMC made misrepresentations in connection

with the origination of an individual mortgage, violated the Truth in Lending Act or the Real

Estate Settlement Procedures Act, failed to properly assign, release or record a mortgage or deed

of trust, and/or participated in improper foreclosures on homes. Each category of claim is

discussed in more detail below.

                   i.     Sole Remaining RMBS Action

                    36.   WMC is the sole defendant in litigation captioned TMI Trust Company,

solely in its capacity as Separate Trustee of the Securitized Asset Backed Receivables LLC Trust

2006-WM2 (SABR 2006-WM2) v. WMC Mortgage LLC f/k/a WMC Mortgage Corp., No. 3:12-

cv-01538-CSH (D. Conn. 2012), pending in the United States District Court for the District of

Connecticut (the “TMI Litigation”). The complaint was filed on October 26, 2012. Since that

time, the TMI Litigation has consumed a substantial amount of the Debtor’s time, focus, and

limited resources.

                    37.   The TMI Litigation arises out of the securitization of a pool of

approximately 5,000 mortgage loans deposited into the SABR-WM2 Trust. The complaint,

which has been prosecuted by TMI Trust Company in its capacity as separate trustee of SABR-

WM2 Trust (the “Separate Trustee”), alleged that WMC had breached numerous R&Ws, failed

to provide proper notification regarding the breaches of the R&Ws, and failed to repurchase the

breaching loans despite due demand.             The Separate Trustee has asserted damages of

approximately $980 million in the TMI Litigation.

                    38.   After several years of discovery and motion practice and multiple attempts

at settlement, a bench trial began on January 16, 2018. The presentation of evidence concluded

on February 5, 2018, with closing arguments held on June 12, 2018. After closing arguments,

the Court took the matter under advisement.

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                   39.    In January 2019, while the matter remained under advisement, WMC

reached tentative agreement regarding a settlement supported by certificateholders owning 42%

of the outstanding certificates in the SABR-WM2 Trust. If accepted by the Separate Trustee, the

settlement would resolve all of the claims in the TMI Litigation in exchange for a settlement

payment of $198 million by WMC. In February 2019, the Separate Trustee provided notice to

all certificateholders of the proposed settlement amount and joined with WMC in requesting that

the Court stay the proceedings to enable the parties to proceed with finalizing the settlement.

The Court entered a stay which, after having twice been extended, will last until June 4, 2019,

unless further extended.

                   40.    On April 4, 2019, WMC presented a proposed settlement agreement to the

Separate Trustee for the Separate Trustee’s review. The Separate Trustee must accept or reject

the proposed settlement on or before June 3, 2019 (unless that date is extended by WMC). As

part of its review process, the Separate Trustee provided a copy of the proposed agreement to all

certificateholders and requested that holders who wish to express their views concerning whether

the Separate Trustee should accept the proposed settlement do so no later than May 15, 2019.

As set forth in the proposed settlement agreement, if the Separate Trustee accepts the proposed

settlement agreement, WMC will be requesting that the Court enter certain findings concerning

the settlement, which WMC intends to seek as part of the confirmation of the Debtor’s chapter

11 plan.

               ii.        Indemnification Notices

                   41.    WMC      has   also   received   indemnification   notices   from   WMC

Counterparties in connection with potential and actual lawsuits brought against such entities by

RMBS investors.          In general, the indemnification notices arise from litigation and claims

asserting alleged securities fraud, repurchase demands, and trustee breaches of duty. The parties

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who have asserted (or may assert) indemnification claims against the Debtor include large

financial institutions that were engaged in the securitization business and were defendants in

litigation regarding mortgage loans that were acquired from mortgage originators, including

WMC. WMC believes that it has strong defenses to these indemnification demands, including

defenses based upon the interpretation and application of the governing contracts, the failure of

the parties to comply with contractual conditions including advance notification of such claims,

strong public policy arguments that do not permit indemnification of such claims, and statutes of

limitations. WMC intends to aggressively defend against any such indemnification claims filed

in this chapter 11 case.

              iii.        Loan-Level Litigation

                   42.    As of the Commencement Date, there were two loan-level cases pending

where WMC is named defendant, seeking damages in the aggregate amount of approximately

$3.65 million. These loan-level actions were filed by borrowers who allege, among other things,

violations of the Truth in Lending Act, misrepresentation in connection with the origination

process, unfair lending practices and related consumer protection acts, and wrongful foreclosure.

Both actions were dismissed at the pleading stage. One action is currently on appeal and the

other the subject of another motion to dismiss an amended complaint. Although WMC continues

to successfully defend or otherwise settle numerous actions involving such claims over the past

decade, litigation remains despite WMC’s efforts to reach consensual settlements.

        B.         Purpose of Chapter 11 Filing

                   43.    Since   the   discontinuation   of   its   mortgage   origination   business

approximately 12 years ago, WMC has made good faith efforts to resolve all of its

liabilities. Despite exhaustive efforts to resolve its liabilities, it has become clear that there may

be a number of disputed, contingent and unliquidated claims that parties might yet assert. In

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addition, the proposed settlement of the TMI Litigation is a key aspect of this chapter 11 case.

Given WMC’s limited cash on hand and its inability to receive ongoing financial support from

GECUSH to resolve these claims outside the confines of chapter 11 and the protections and

finality it affords, WMC has determined that it is in its best interest to commence this chapter 11

case. During the course of this chapter 11 case and with access to the DIP Facility, WMC

expects, subject to this Court’s oversight and approval, to resolve any disputed claims that may

be filed, consummate the proposed settlement of the TMI Litigation and consummate the GE

Settlement which will, among other things, provide for a distribution to WMC’s creditors

pursuant to a chapter 11 plan.

IV.     First Day Pleadings

        44.        Contemporaneously herewith, the Debtor has filed the following First Day

Pleadings seeking orders granting various forms of relief intended to facilitate the efficient

administration of this chapter 11 case:

                  Application of Debtor for Authority to Retain and Employ Epiq Corporate
                   Restructuring, LLC as Claims and Noticing Agent Effective as of Commencement
                   Date (the “Section 156(c) Application”)

                  Motion of Debtor for Entry of Interim and Final Orders (I) Authorizing the
                   Debtor to Continue (A) Maintaining Its Existing Bank Accounts and (B) Using Its
                   Existing Business Forms; (II) Extending Time to Comply with 11 U.S.C. § 345(b);
                   and (III) Granting Related Relief (the “Cash Management Motion”)

                  Motion of Debtor for Entry of Interim and Final Orders (I) Authorizing Debtor to
                   (A) Pay Certain Prepetition Wages, Salaries, Employee Benefits, and Other
                   Compensation and (B) Maintain and Honor Employee Medical and Other Benefit
                   Programs and (II) Granting Related Relief (the “Wages Motion”)

                  Debtor’s Motion for Entry of Interim and Final Orders Pursuant to 11 U.S.C. §§
                   105, 361, 362, 363 and 364 (I) Authorizing the Debtor to Obtain Post-petition
                   Secured Super-Priority Financing, (II) Scheduling a Final Hearing, and (III)
                   Granting Related Relief (the “DIP Motion”)




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I have reviewed each of the First Day Pleadings and the proposed orders together with the

exhibits attached thereto, and the facts set forth therein are true and correct to the best of my

knowledge, information, and belief. Moreover, I believe that the relief sought in each of the First

Day Pleadings is vital to the Debtor to make the transition into, and operate in, the chapter 11

case with minimal disruption to its business or loss of productivity or value. A description of the

relief requested and the facts supporting each of the First Day Pleadings (other than the DIP

Motion, which is addressed and discussed in detail in the Declaration of Laureen M. Ryan in

Support of the DIP Motion) is set forth below.

        A.         Section 156(c) Application

        45.        By the Section 156(c) Application, the Debtor seeks entry of an order appointing

Epiq Corporate Restructuring, LLC (“Epiq”) as the claims and noticing agent for the Debtor in

this chapter 11 case, including assuming full responsibility for the distribution of notices and the

maintenance, processing and docketing of proofs of claim filed in the chapter 11 case. Epiq is an

established chapter 11 administrator, with experience in noticing, claims administration,

solicitation, balloting and other administrative aspects of chapter 11 cases. Given the complexity

of this case and the potential number of creditors and other parties in interest involved, I believe

that appointing Epiq3 as the claims and noticing agent in this chapter 11 case is in the best

interests of the Debtor’s estate, its creditors, and all other parties-in-interest.

        B.         Cash Management Motion

        46.        By the Cash Management Motion, the Debtor seeks entry of interim and final

orders granting the Debtor (a) authority to continue using its existing bank accounts and business



3
  In accordance with this Court’s Protocol for the Employment of Claims and Noticing Agents under 28 U.S.C.
§ 156(c), Epiq was selected following the Debtor’s competitive solicitation of three (3) separate proposals for
potential claims and noticing agents.


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forms, (b) a 30-day extension of time to comply with section 345(b) of the Bankruptcy Code, and

(c) related relief.

        47.        As detailed in the Cash Management Motion, prior to the Commencement Date,

the Debtor maintained several bank accounts in the ordinary course of its business and an

integrated cash management system (the “Cash Management System”).                     By the Cash

Management Motion, the Debtor seeks authority to maintain its existing Cash Management

System, including its existing bank accounts. I believe that the Debtor’s continued use of the

Cash Management System will permit the Debtor to efficiently monitor and manage its cash

receipts and disbursements and ensure a smooth transition into chapter 11.

        48.        Additionally, the Debtor seeks authorization to continue using its correspondence

and business forms, including, but not limited to, letterhead and checks, in the forms existing

immediately prior to the Commencement Date, without reference to the Debtor’s status as a

debtor in possession. However, in the event that the Debtor generates new checks during the

pendency of this chapter 11 case other than from its existing stock of checks, the Debtor will

include a legend on the new checks with the designation “Debtor-in-Possession” and the

bankruptcy case number. For checks that the Debtor or its agents print themselves, the Debtor

will begin printing the “Debtor-in-Possession” legend and the bankruptcy case number on such

checks within ten business days of the entry of the proposed interim order granting the Cash

Management Motion. I believe this relief is necessary in order to save the Debtor a potentially

significant expense to order new business forms without any real attendant benefit to the Debtor

and its stakeholders.

        49.        The Debtor also seeks a 30-day extension of time to comply with section 345(b)

of the Bankruptcy Code (to the extent that the Debtor is not already in compliance), without



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prejudice to seek a further extension of time. Based upon the advice of counsel, I believe that the

Debtor meets the factors for “cause” to extend the time to comply with such section; indeed,

three of the four Bank Accounts are with Bank of America, N.A. which already is an authorized

depository under the list maintained by the Office of the United States Trustee for the District of

Delaware (the “U.S. Trustee”), and the other is with Deutsche Bank Trust Company Americas, a

large, highly-rated financial institution. To ensure that there are no interruptions in the Debtor’s

ability to use its cash according to the Cash Management System, the Debtor requests a brief

extension of the time to comply with section 345(b) so that the Debtor can work cooperatively

with the U.S. Trustee.

        50.        Accordingly, based on the foregoing as well as the additional reasons set forth in

the Cash Management Motion, I believe that the relief requested in the Cash Management

Motion is necessary to avoid immediate and irreparable harm and is in the best interests of the

Debtor’s estate, its creditors, and all other parties-in-interest.

        C.         Wages Motion

        51.        By the Wages Motion, the Debtor seeks entry of interim and final orders

authorizing the Debtor to (a) pay prepetition employee obligations, including wages, deductions,

payroll taxes, and amounts owed under the Debtor’s employee benefits programs, and (b)

maintain and continue to honor the Debtor’s prepetition employee wage and benefit programs as

such programs were in effect as of the Commencement Date and as may be modified, amended,

or supplemented from time-to-time in the ordinary course of business and pay any related

administrative costs and obligations arising under such programs. Authorizing the Debtor to pay

or honor prepetition wages, employee benefits, and similar obligations will benefit the Debtor’s

estate by allowing the Debtor to continue its business during this chapter 11 case without

interruption.

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        52.        As discussed above, the Debtor currently employs ten full time employees. In

addition to such employees, the Debtor utilizes the services of one independent contractor. The

relief requested by the Wages Motion includes compensation for WMC’s full time employees as

well as the independent contractor, each of whom provides services related to the Debtor’s

operations and are vital to the Debtor’s business.4 If the relief requested in the Wages Motion is

not granted, the Debtor’s employees and independent contractor may seek alternative

opportunities. The loss of any of the services provided by such individuals would hinder the

Debtor’s ability to meet its obligations, operate during the chapter 11 case, and carry out its

chapter 11 strategy.

        53.        The Debtor’s employees rely on the Debtor’s compensation and benefits to satisfy

daily living expenses. These employees will be exposed to significant financial difficulties and

other distractions if the Debtor is not permitted to honor its obligations for any unpaid

compensation and benefits, or costs related thereto. Furthermore, if the Court does not authorize

the Debtor to honor its various obligations under the employee benefit programs, the employees

will not receive, as one example, health coverage and may become obligated to pay certain

health care claims. Additionally, employee attrition due to the loss of benefit programs would

cause the Debtor to incur additional expenses to find appropriate replacements for lost

employees, thereby potentially disrupting the Debtor’s business at a critical juncture.

        54.        Accordingly, based on the foregoing and the additional reasons set forth in the

Wages Motion, I believe that the relief requested in the Wages Motion is necessary to avoid

immediate and irreparable harm and is in the best interests of the Debtor’s estate, its creditors,

and all other parties-in-interest.
4
  As noted above, I was seconded from GECUSH to WMC in June of 2016. As a seconded employee of GECUSH,
I receive my salary and benefits directly from GECUSH. Accordingly, by the Wages Motion, the Debtor is not
seeking any relief with respect to the payment of my compensation and benefits.


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                   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Dated: April 23, 2019
       Woodland Hills, California
                                               /s/ Mark V. Asdourian
                                               Mark V. Asdourian
                                               President, Chief Executive Officer, and General
                                               Counsel
                                               WMC Mortgage, LLC




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